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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WISCONSIN



LORAINE ANGELA LEWIS,

        Plaintiff,
                                                           No. 3:20-cv-00691
v.

ANTHONY HOWARD ESPESETH,

        Defendant.



                     THE DEFENDAT’S ANSWER TO THE COMPLAINT



        The defendant, ANTHONY ESPESETH, by counsel, in response to the complaint in this

matter, states as follows:

“Introduction”

     1. Admit.

     2. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

     3. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

     4. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

     5. Admit.

     6. Neither admit nor deny, as Mr. Espeseth has insufficient information because the plaintiff

        has failed to provide proof of her income in the form of her total income (or adjusted
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       gross income for an IRS Form 1040EZ) from her U.S. Federal income tax liability. 8

       C.F.R. § 213a.1.

   7. Deny. The paragraph states conclusions of law to which no responsive pleading is

       required.

“Jurisdiction and Venue”

   8. Admit

   9. Admit.

   10. Admit.

   11. Admit.

“Plaintiff”

     9. [sic] Admit in part, deny in part. The plaintiff is a citizen of Jamaica and, upon

         information and belief, is a conditional resident of the United States.

     10. [sic] Admit.

“Defendant”

     11. [sic] Admit.

     12. Deny. The paragraph states conclusions of law to which no responsive pleading is

         required.

     13. Admit.

“Factual Allegations”

     14. Deny. The paragraph states conclusions of law to which no responsive pleading is

         required.

     15. Admit.

     16. Admit.




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17. Admit.

18. Admit.

19. Admit.

20. Admit.

21. Admit.

22. Deny. The paragraph states conclusions of law to which no responsive pleading is

   required.

23. Admit.

24. Admit.

25. Deny. The paragraph states conclusions of law to which no responsive pleading is

   required.

26. Admit.

27. Admit.

28. Admit.

29. Admit.

30. Admit.

31. Deny. The paragraph states conclusions of law to which no responsive pleading is

   required.

32. Deny. The paragraph states conclusions of law to which no responsive pleading is

   required.

33. Admit.

34. Admit.

35. Admit.




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36. Admit.

37. Admit.

38. Deny. The paragraph states conclusions of law to which no responsive pleading is

   required.

39. Deny. The paragraph states conclusions of law to which no responsive pleading is

   required.

40. Admit.

41. Admit.

42. Admit.

43. Admit.

44. Admit.

45. Admit.

46. Admit.

47. Admit.

48. Admit.

49. Admit.

50. Admit.

51. Deny. The paragraph states conclusions of law to which no responsive pleading is

   required.

52. Deny. The paragraph states conclusions of law to which no responsive pleading is

   required.

53. Deny. The paragraph states conclusions of law to which no responsive pleading is

   required.




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“Plaintiff’s Immigration to the United States”

     54. Admit.

     55. Admit.

     56. Admit.

     57. Admit.

     58. Admit.

     59. Admit.

     60. Admit.

     61. Admit.

     62. Admit.

     63. Admit.

     64. Admit.

     65. Deny. The marriage was on May 9, 2018.

     66. Admit.

     67. Admit in part, deny in part. Ms. Weber was acting as attorney for both parties.

     68. Admit.

     69. Admit.

     70. Admit in part, deny in part. Ms. Weber was acting as attorney for both parties.

     71. Admit.

     72. Admit.

     73. Admit.

     74. Admit

     75. Admit.




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     76. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

     77. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

     78. Admit.

     79. Admit.

     80. Admit.

“Ms. [sic] Espeseth’s breach of contract”

     81. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

     82. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

     83. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

     84. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

     85. Neither admit nor deny, as Mr. Espeseth has insufficient information because the

        plaintiff has failed to provide proof of her income in the form of her total income (or

        adjusted gross income for an IRS Form 1040EZ) from her U.S. Federal income tax

        liability. 8 C.F.R. § 213a.1.

     86. Neither admit nor deny, as Mr. Espeseth has insufficient information because the

        plaintiff has failed to provide proof of her income in the form of her total income (or




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        adjusted gross income for an IRS Form 1040EZ) from her U.S. Federal income tax

        liability. 8 C.F.R. § 213a.1.

“Facts concerning Terminating Events”

    87. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

    88. Admit.

    89. Admit.

    90. Neither admit nor deny, as Mr. Espeseth has no information as to whether the plaintiff

        has lost her conditional resident status.

    91. Neither admit nor deny, as Mr. Espeseth has no information as to whether the plaintiff

        has been placed in removal proceedings.

    92. Admit.

    93. Deny. The paragraph states conclusions of law to which no responsive pleading is

        required.

“CLAIMS FOR RELIEF, 1 – Breach of Contract”

    94. The defendant relies on the above stated answers to allegations 1 through 93.

    95. Deny.

    96. Deny.

    97. Deny.

    98. Deny.

    99. Deny.

    100.     Deny.

    101.     Deny.




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102.      Deny.

FACTUAL ALLEGATIONS COMMON TO ALL AFFIRMATIVE DEFENSES

 1. On November 29, 2018, just slightly more than six months after the date of marriage,

       Mr. Espeseth filed for divorce in Chippewa County Circuit Court, case no.

       2018FA000319. Exhibit 1.

 2. On May 3, 2019, U.S. Citizenship and Immigration Services (USCIS) issued a notice

       for an interview on the plaintiff’s adjustment of status application (receipt no.

       MSC1891218260) which was scheduled on June 13, 2019 at the USCIS Minneapolis

       Field Office. Exhibit 2.

 3. On June 13, 2019, Mr. Espeseth and the plaintiff both arrived at the Minneapolis

       Field Office but were interviewed separately by a USCIS officer. Attorney Weber did

       not attend, and neither party was represented by counsel. Mr. Espeseth informed the

       officer that he had filed for divorce shortly after the marriage, the divorce remained

       pending, and he believed the plaintiff only entered the marriage to obtain permanent

       residence, thereby committing visa fraud.

 4. Although the law does not permit withdrawal of an approved Form I-129F, it does

       permit withdrawal of the Form I-864, Affidavit of Support prior to the approval of the

       adjustment of status. 8 C.F.R. § 213a.2(f) states as follows:

          In an adjustment of status case, once the sponsor, substitute sponsor, joint sponsor,
          household member, or intending immigrant has presented a signed affidavit of support
          and any required attachments to an immigration officer or immigration judge,
          the sponsor, substitute sponsor, joint sponsor, or household member may disavow his or
          her agreement to act as sponsor, substitute sponsor, joint sponsor, or household member
          only if he or she does so in writing and submits the document to the immigration
          officer or immigration judge before the decision on the adjustment application.

 5. The language of 8 C.F.R. § 213a.2(f) does not appear in the Form I-864. Even

       though Mr. Espeseth was unrepresented by counsel and expressed a clear intent to


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       end his marriage and the visa process, the officer did not inform him of his ability to

       withdraw the Form I-864. Upon information and belief, USCIS initiated no fraud

       investigation and the plaintiff’s conditional residence was approved the following

       day, on June 14, 2019.

   6. The plaintiff raised the issue of support under the Form I-864 in divorce proceeding

       in Chippewa County Circuit Court. Both parties were represented by counsel. On

       October 28, 2019, after a hearing in which both parties testified, the court denied her

       claim. In the judgment of divorce, maintenance was waived by both parties. Exhibit

       3.



                    DEFENDANT’S AFFIRMATIVE DEFENSES



1. First Affirmative Defense - Illegal Contract/Failure to Disclose

   The Form I-864 in this matter is an illegal contract as it failed to disclose a fundamental

   term, specifically, Mr. Espeseth’s right to withdraw the financial sponsorship under 8

   C.F.R. § 213a.2(f). USCIS compounded this problem at the adjustment interview when it

   again failed to disclose this right after Mr. Espeseth informed the officer he had filed for

   divorce shortly after the marriage, the divorce remained pending, and he believed the

   plaintiff fraudulently entered the marriage to obtain a visa.

2. Second Affirmative Defense - Illegal Contract/Against Public Policy

   In twice failing to inform Mr. Espeseth of his right under 8 C.F.R. § 213a.2(f), or

   initiating a marriage fraud investigation, USCIS’s actions were in clear violation of long-




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   standing public policy in immigration law. See generally, The Immigration Marriage

   Fraud Amendments Act of 1986.

3. Third Affirmative Defense – Res Judicata

   The claim is barred because the plaintiff raised the issue in divorce proceedings and now

   seeks to relitigate it.

4. Fourth Affirmative Defense – Collateral Estopple

   The claim is barred because the plaintiff had a full and fair opportunity to litigate in

   divorce proceedings and received a judgment.

5. Fifth Affirmative Defense – Offset

   Any alleged past or future damages sought by the plaintiff are offset by income she

   earned or will earn since June 14, 2019, in the form of her total income (or adjusted gross

   income for an IRS Form 1040EZ) from her U.S. Federal income tax liability. Mr.

   Espeseth has requested this information for months, and the defendant continues to fail to

   provide it.

6. Sixth Affirmative Defense – Equitable Estopple

   The claim is barred because the plaintiff’s conduct amounted to false representation or

   concealment of material facts in inducing Mr. Espeseth to sign the Form I-864.

7. Seven Affirmative Defense – Fraud in the Inducement

   The claim is barred because the plaintiff committed fraud by deceit, misrepresentation or

   other means in inducing Mr. Espeseth to sign the Form I-864.




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   8. Eigth Affirmative Defense

       Mr. Espeseth reserves the right to raise additional affirmative defenses as appropriate.

       The affirmative defenses are not exhaustive, as he may defend this action on any

       applicable legal grounds.

Dated: October 28, 2020.

Respectfully submitted,

s/Erich C. Straub
Wisconsin State Bar No. 1020638
Attorney for the defendant

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